         0:19-cv-00790-DCN           Date Filed 03/15/19        Entry Number 1        Page 1 of 13



                   •

                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF SOUTH CAROLINA



                                                                Complaint for Violation of Civil
                                                                Rights
                                                                (Prisoner Complaint)
      (Write the full name of each plaintiffwho is filing
      this complaint. If the names of all the plaintiffs        Case No.
      cannot fit in the space above, please write "see                     ----------
                                                                (to be filled in by the Clerk's Office)
      attached" in the space and attach an additional
      page with the full list of names.)
                                                                Jury Trial:     ~          □ No
                                                                                (check one)
          -against-                                                                                                  ,-.
                                                                                                                     (/)


      -Sol-(~ Co..ro O•'"' e1.'ve...,p~'""1e,-.,+                                                          '-0
                                                                                                           =ic
                                                                                                                     0
                                                                                                                     ("")


       tYr Com:c..-t--,ro.-,5 A_j&lC~ '.D~r~+6r                                                            ~
                                                                                                          :.-u
                                                                                                                     0
                                                                                                                    r-
                                                                                                                    ~-1~
      'Sr'1 An 'i?, 5+,'rl /r,5                                                                           07        ?~~~~
                                                                                                                    CJ :2,::
     (Write the full name of each defendant who is                                                        ::r:,.    O·<
     being sued. If the names of all the defendants
                                                                                                          ~        ~8
                                                                                                          9        S
     cannot fit in the space above, please write "see                                                              l>
     attached" in the space and attach an additional                                                               U>
                                                                                                                   ("")
     page with the full list of names. Do not include
     addresses here.)


                                                  NOTICE

Federal Rules of Civil Procedure 5 .2 addresses the privacy and security concerns resulting from public
access to electronic court files. Under this rule, papers filed with the court should not contain: an
individual's full social security number or full birth date; the full name of a person known to be a minor; or
a complete financial account number. A filing may include only: the last four digits of a social security
number; the year of an individual's birth; a minor's initials; and the last four digits of a financial account
number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or
any other materials to the Clerk's Office with this complaint.

When submitted for filing, your complaint should be accompanied by the full filing fee or an application to
proceed informa pauperis.




                                                            1
     0:19-cv-00790-DCN       Date Filed 03/15/19        Entry Number 1          Page 2 of 13




I.      The Parties to This Complaint

        A.    The Plaintiff(s)

              Provide the information below for each plaintiff mm1ed in the compl_aint, A~ch .
              additional pages if needed.

                     Name
                     All other names by which you have been known:



                     ID Number                                    3~o3co I
                     Current Institution
                     Address



        B.    The Defendant(s)

              Provide the information below for each defendant named in the complaint, whether
              the defendant is an individual, a government agency, an organization, or a
              corporation. Make sure that the defendant(s) listed below are identical to those
              contained in the above caption. For an individual defendant, include the person's job
              or title (if known) and check whether you are bringing this complaint against them in
              their individual capacity or official capacity, or both. Attach additional pages if
              needed.

              Defendant No. 1
                     Name
                     Job or Title
                     (if known)
                     Shield Number
                     Employer
                     Address                ?o        :;2.07~'1/t../'-/'f'-( Broa.~
                                                     'Bo?\.
                                           R,\tu- R e>t Co 0'-tMb~ Sc.., ~'1~~ J - I 7~?
                     ~ndividual capacity                      D    Official capacity

              Defendant No. 2
                     Name



                                                 2


                                                                                                          /

                                                                                                      I
      0:19-cv-00790-DCN       Date Filed 03/15/19       Entry Number 1         Page 3 of 13



             .

                       Job or Title
                       (if known)
                       Shield Number
                       Employer
                       Address


                        D    Individual capacity            D     Official capacity

                 Defendant No. 3
                       Name
                       Job or Title
                       (if known)
                       Shield Number
                       Employer
                       Address


                       D     Individual capacity            □     Official capacity

                 Defendant No. 4
                       Name
                       Job or Title
                       (if known)
                       Shield Number
                       Employer
                       Address


                       D     Individual capacity            D     Official capacity

II.     Basis for Jurisdiction

        Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights,
        privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens v. Six
        Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
        federal officials for the violation of certain constitutional rights.




                                                   3
       0:19-cv-00790-DCN        Date Filed 03/15/19          Entry Number 1     Page 4 of 13




         A.     Are you bringing suit against (check all that apply):

                 □      Federal officials (a Bivens claim)
                 ~ State or local officials (a § 1983 claim)·

         B.




         C.     Plaintiffs suing under Bivens may only recover for the violation of certain
                constitutional rights. If you are suing under Bivens, what constitutional right(s) do you
                claim is/are being violated by federal officials?




         D.     Section 1983 allows defendants to be found liable only when they have acted "under
                color of any statute, ordinance, regulation, custom, or usage, of any State or Territory
                or the District of Columbia." 42 U.S.C. § 1983. If you are suing under section 1983,




III.     Prisoner Status

         Indicate whether you are a prisoner or other confined person as follows (check all that apply):

         □      Pretrial detainee
         □      Civilly committed detainee
         □      Immigration detainee


                                                    4
      0:19-cv-00790-DCN           Date Filed 03/15/19              Entry Number 1              Page 5 of 13




         ✓ Convicted and sentenced state prisoner
         □     Convicted and sentenced federal prisoner
         □     Other (explain) _ _ _ _ _ _ _ _ _ _ _ __

IV.     Statement of Claim

        State as briefly as possible the facts of your case. Describe how each defendant was
        personally involved in the alleged wrongful action, along with the dates and locations of all
        relevant events. You may wish to include further details such as the names of other persons
        involved in the events giving rise to your claims. Do not cite any cases or statutes. If more
        than one claim is asserted, number each claim and write a short and plain statement of each
        claim in a separate paragraph. Attach additional pages if needed.

        A.     If the events giving rise to your claim arose outside an institution, describe where and
               when they arose.
               fYl ~55 ~~e?,r6en#",~,,,, of.Sc. C.ade cl<"f-J3-G>..3o Sec...,-t;b,,,..,/8 'j3v .S<l::;c_
                              I   eC   °<'<   ('   e'.'1       ;   1
                                                                   r   f             c:)   S         -     _           f

                  .,..,,,,,    o...rn "'-IO-('K rt:..c1 .'+ P6I,' <::}? ~,_0'7 se-c.t-i~"""' ,.                    --,~(:;i:'4-./19
               :;x,;;;2 _ L-f, I •J./, 3....,; €-XCuSL)~~Se.Jve.-'.s ScDc. c..(Se... ~ y-13-Jo 11 •
                      -     -                1n     ~$5          0 l)~j
                                                                                         - -,
                                                                            c, 'illl4>J<--
                                                                                                               a __ ~
                                                                                                    , '"""" ,;::.,
               VC.C.u$t.-(~~) RG-f'eAJ            'f SL      ,:ole.-, 'W!f ~<-t-S-3 - 3'7# A,,.,ol 3 7 ~ 8 ) ~
        B.     If the events giving rise to your claim arose in an institution, describe where and whe'n
              they arose.
              ~:~ :r:,,...dden+ -t~K                ,.,,p.C,L, ~+                                        +, +-
                                                                           t<')e,l""SJ.,~e,..A.. ;:I:-n"5 t7CA. ,1~....,

               So~th LJl{t,f,~eA. 'De.tj>P.t+""'1en--t- at Correc.--h~...., :


        C.     What date and approximate time did the events giving rise to your claim(s) occur?
               t"
               ,
                   Cltt~nrt~ --t~K ~ lau.~noD
                 0/n
                  '
                                                    Be.~/,... A
                       A C.la.Ss~£.'c.Dl+.1oo oec,S,'-,,..,
                            I
                                                                                 8r~"
                                                                         o1 lf;J.~t 3/ 17,_?-,eSv.
                                                                         2~+H,1o,z~> Sf-e...p~
                                                                                                                       H-,;J'
               ur\L""'"G-L-,


        D.




                                                           5
      0:19-cv-00790-DCN           Date Filed 03/15/19         Entry Number 1         Page 6 of 13




                  $d)C..     p ~rU-t6t t.,,..ta5 Ac+,1 w ,% ,,r\ '-fheSc.ope..-af h ,'-5 1 ..., cl,'v .'ct...,c.O
                                                        f"l
                                                          1
                   ~,...~ o+Nc,'a.t Put't~ ;sCDc ::Cncl,'4:,.-l-t!.,C:/ u-1Nlt ~.,.. ,;.e. Sfe_r'!l ~ ne..vei,.,e<._
                                                                                 1
                  't"i~ pe+f+fo,-,if £~r., "H,,ie.. ~~+;;f E;L,JG S IIVl"uSe,,,-,cJ eA,,..J ~'i"~~
                   ACC.t:Jt•Y1Kll(+e.ol_ see,~ '-I-' -:Z.6) a.'i-!-:_ t.to) ti¼- I- ~-~o )_,R4-l--<3d)o2. \i- t -~G.o
                  Sc1)_(. 0   ~Qctbr'   "(6IA.f~ 'fl,_~ ';>fo?tU"_Ca('(._,t:!Jrn"i2dJ ,'c..~
                                                                                        -t~-?e.+,'+,'o,?~
                C. n5+,'+..ct-J~.-ia I R,'f-.,+'.s(Aa"rcll/)1 )-t" Ar-1-,'c""'J
                   0
                                                                                    .:1..f
                                                                                       IS)A lo"'J''- l'h.,
V.       Injuries [ £v,1.c. I Sc.De, Pc I ,'c.-, )e,? tR l-t:,? Seel-,'"" I ,~ - I-: 3 f I, (o ,, ~ , ~. </, I -'I,
                                                                                                                      3
         If you sustained injuries related to the events alleged above, describe your injuries and state
         what medical treatment, if any, you required and did or did not receive.




VI.      Relief




VII.

        The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that "[n]o action
        shall be brought with respect to prison conditions under section 1983 of this title, or any other
        Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
        administrative remedies as are available are exhausted."

        Administrative remedies are also known as grievance procedures.                  Your case may be
        dismissed if you have not exhausted your administrative remedies.


                                                         6
0:19-cv-00790-DCN        Date Filed 03/15/19          Entry Number 1            Page 7 of 13




  A.    Did your claim(s) arise while you were confined in a jail, prison, or other correctional
        facility?

        ✓Yes
        □         No

        If yes, name the jail, prison, or other correctional facility where you were confined at
        the time of the events giving rise to your claim(s).
         f"'-'j G,-r,1e.:;,t.t).nCe-? ro~u✓e-         ~e..,o. , ,.,. °'-+ Kushet~r...,~-t.'-l-'-L.\,~""

  B.    Does the jail, prison, or other correctional facility where your claim(s) arose have a
        grievance procedure?

        ~Yes
        □         No
        □         Do not know

  C.    Does the grievance procedure at the jail, prison, or other correctional facility where
        your claim(s) arose cover some or all of your claims?

                  Yes

        □         No

        □         Do not know

        If yes, which claim(s)?
        $ct)c., As~c,i :1) \ ( ' ~ ~
        o(~l'f
                                               pt''t"'""   ?•   ~+.1   J ,'"4=+°'
                  S:,~ ,t\1ol'l.U.S t;:.v-tC:.:.S o..noO C:,e:,oc:Jco.,,olve.
                                                                                     ~ l +~
                                                                               C:..,re.c1, + .S
                                                                                         1
                                                                                                  ~f'V\
                                                                                                   Jtl
                                                                                                          ,',,..:lste.,,
                                                                                                         e.. -¼,;·ho,.,u5
                  -                        - ,-                         IJ It,.,,
        t...c.~   ~~ -3-;2.o)      o Anet)~ <poJh-::-c op.Q f-o') Se:c ·,,
                                   ;l\.f-3-                            ..1 1     l
                                                                            o"'"'
        I,..?.- 1,3- l,fD-~.;l.-4, I-L/, 3
  D.    Did you file a grievance in the jail, prison, or other correctional facility where your
        claim(s) arose concerning the facts relating to this complaint?

                  Yes

        □         No




                                                7
0:19-cv-00790-DCN           Date Filed 03/15/19        Entry Number 1     Page 8 of 13




        If no, did you file a grievance about the events described in this complaint at any other
        jail, prison, or other correctional facility?

        □       Yes
        □      No

  E.    If you did file a grievance:

        1.      Where did you file the grievance?
               (V\ 't S~r· t (,,~e..~ nu..- Ste:i-rl-e..,cl    0.   + Kus   ~At....L   ::r:-r1 s+~-t,b-,
               'f;.15       pr,o..s-s Bt-/':~"' g'I pe+,'+,1one.,;--f1-ie.. 'DP<-fc.-6.(' 1:J.-l<-t-J'7
              7h(..,        e.t,4~o~u ~e.ce.~"e,..d J3.itcK ~e... ~~re(~~ ~e_Spo,.,.5~
                                        t-tt-1'6 :

        2.




        3.




        4.     What steps, if any, did you take to appeal that decision? Is the grievance
               process completed? If not, explain why not. (Describe all efforts to appeal to
               the highest level of the grievance process.)                    Ac1
              -"'fhL  pe-~      '+,'o.,..,
                                    U-           nl~
                                                h~ A?P~l ...,u.~ '-th.e..- l'Vl~n~Si-1"""~ 'v<-
                                                                                          -0
                     CD"'r+ See--.e/f(.,,'l u.... '"2,.r;,.c,JSt--,"'.- A t..c C/)4,Se... l-L f<i-A L:r_
               l-.t11u.c.
              ol{~6b4>~ A_Bl'.3, v-"~ "t Gde-v:1-,-,t.<_ !'!t.Mbv Kl2-cr t3lfi.-P1
              Ch"- Ale. ~\.t\.c-- Ajl)f.•',.st ?e::h4~c?n «~ .:Z:5~--<t'.'.-- Se...e- £Xh,1/, ,1f-__d_
               ?~~~5            , ,..(p      I




                                                  8
   0:19-cv-00790-DCN          Date Filed 03/15/19        Entry Number 1        Page 9 of 13




      F.      If you did not file a grievance:

              1.     If there are any reasons why you did not file a grievance, state them here:




             2.      If you did not file a grievance but you did inform officials of your claim, state
                     who you informed, when and how, and their response, if any:


                                                 NIA
                                                  ( ,.




      G.     Please set forth any additional information that is relevant to the exhaustion of your
             administrative remedies.




             (Note: You may attach as exhibits to t is complaint any documents related to the
             exhaustion ofyour administrative remedies.)

VIII. Previous Lawsuits

      The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal
      court without paying the filing fee if that prisoner has "on three or more prior occasions, while
      incarcerated or detained in any facility, brought an action or appeal in a court of the United
      States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
      upon which relief may be granted, unless the prisoner is under imminent danger of serious
      physical injury." 28 U.S.C. § 1915(g).

      To the best of your knowledge, have you had a case dismissed based on this "three strikes
      rule"?

              ~es
              □      No




                                                   9
0:19-cv-00790-DCN       Date Filed 03/15/19         Entry Number 1         Page 10 of 13




   If so, state which court dismissed your case, when this occurred, and attach a copy of the
   order if possible.

         :::C...htl'te.. fuclt>Se..--   ~ C..0?"1     o-f e;...     Jucl5 ~ orde,;-
         - f he.- ?e-··h4lo""u.s
                        , ,   ' Vee6'l,b!L--C:Y'~\j'i
                                            -- o'"~ - ',
   A.     Have you filed other lawsuits in state or federal court dealing with the same facts
          invo~ in this action?

          it('   Yes

          □      No

   B.    If your answer to A is yes, describe each lawsuit by answering questions 1 through 7
         below. (If there is more than one lawsuit, describe the additional lawsuits on another
         page, using the same format.)

          1.     Parties to the previous lawsuit
                 Plaintiff(s) -iu /t:,vl~ ~ v.c;..clS~°'l,.,..\.4t-3~o:3(:.Q Q
                                     n ?, S·h t'l, d     1    1
                 Defendant(s)      ~'JA


         2.      Court (if federal court, name the district; if state court, name the county and
                 State)
                  D ~5-t-dL-t" CoLA-I+' trtSotJ:tviC.a."°Q,',..,~ Co~""+-tc,-f'ColYt"v\b ,'o...
         3.      Docket or index number
                 CtxSe.--Nu;nbe/              C>: o~-Cy-C30~ -\)CJ\/ /DocK~+-•tq,;;1_
         4.      Name of Judge assigned to your case
                 \-\orin "'-bit-   ?~~.13: Gosset+
         5.      Approximate date of filing lawsuit



         6.      Is the case still pending?

                 □       Yes
                 ✓No
                 If no, give the approximate date of disposition.   ----"2----.1/'- 6 -1/1--~-4___
                                                                                   -~-
                                                                            r

                                               10
0:19-cv-00790-DCN      Date Filed 03/15/19        Entry Number 1     Page 11 of 13




         7.      What was the result of the case? (For example: Was the case dismissed? Was
                judgment entered in your favor? Was the case appealed?)




   C.    Have you filed other lawsuits in state or federal court otherwise relating to the
         conditions of your imprisonment?

         □      Yes
         □      No

   D.    If your answer to C is yes, describe each lawsuit by answering questions 1 through 7
        below. (If there is more than one lawsuit, describe the additional lawsuits on another
        page, using the same format.)

         1.     Parties to the previous lawsuit

                Plaintiff(s)
                Defendant{s)

        2.      Court (if federal court, name the district; if state court, name the county and
                State)




        3.      Docket or index number



        4.     Name of Judge assigned to your case



        5.     Approximate date of filing lawsuit



        6.     Is the case still pending?

                □       Yes
                □       No


                                            11
  0:19-cv-00790-DCN         Date Filed 03/15/19         Entry Number 1       Page 12 of 13




                      If no, give the approximate date of disposition.
                                                                         ----------
              7.      What was the result of the case? (For example: Was the case dismissed? Was
                     judg_ment entered in your-.Javor? Was the case appealed?)




IX.   Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and belief that this complaint: (1) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
      of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
      modifying, or reversing existing law; (3) the factual contentions have evidentiary support or,
      if specifically so identified, will likely have evidentiary support after a reasonable opportunity
      for further investigation or discovery; and (4) the complaint otherwise complies with the
      requirements of Rule 11.

      A.     For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
             related papers may be served. I understand that my failure to keep a current address
             on file with the Clerk's Office may result in the dismissal of my case.

             Date of signing: _____ , 20_.

             Signature of Plaintiff      TER'\'-- EN C £ PR ADSH Av,/ ~
             Printed Name of Plaintiff    3'.DC-     3~o3ct., t
                                                      .:ti
                                                                                    4 :/
                                                                                               2
             Prison Identification #    I..,_...,"<-- (3... ~ ____.,____
                                                                               1
             Prison Address G.ooo0f"Vlc..,.... JJ),S·t)t"t..t-h1~"" Pt.A.: \d ' J M.BS-L..a, 75
                               LfSS"(pe2>~~ R,\.te/~~ Colc.At'Ylb,1c:i....           sc.., ~,~lo:
                               City                          State                 Zip Code
      B.     For Attorneys

             Date of signing: _____, 20_.

             Signature of Attorney
             Printed Name of Attorney
             Bar Number
             Name of Law Firm


                                                 12
/
           0:19-cv-00790-DCN    Date Filed 03/15/19   Entry Number 1   Page 13 of 13
    . .,

                   Address
                   Telephone Number
                   E-mail Address




                                                 13
